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                       AGAINST TI{E GRAIN TREE SERVICE


                                             Gregory Stocchi
                                        3 1502 Schoenhen, Apt B-2
                                             Wanen, MI 48088

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 .ludgc. Llliled Slatcs t)istrict CorLrl



           Ile: Basic (i{xxl Chararctcr of I larold Nero


  Dear Judge:

            Harold is a good guy. I havc kno*n hirr lirr a dozcn veirts. and he realll is a gurd gu,"-'
  He is ph-vsicall1. a r,cry pouerlull,v built man. \'ct he nevcr Llses his siTc tr) huit anyone. llarold
  is lrul-\ a "Cetltlc Giant".
            ldwards womell. Harolcl is a Cuardian Angel. Ile has r\!o daLlghlcn thal he tl'casures alld
  protects. Also, Harold has a solt sfot lor wolncn. So. li)r someonc to tell n1e that Harold firrced
  a worrai to prostitule hcrsclfancl to usc drugs{hat does not linc up \\'ith $ho I kfo\r Her'old t(r
  bc-
           \bulHouor. I am tr Rcscue Slotnr Climber. Flach day that 1 rrork could "rcll be mv last'
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  Harolll is nol a dangcr to socict). He is uclcome to live "\'ilh nle. (iD In,u" l\&o-bcdroom apartmcnl
  in \\iarrcn) Ibr as long as he necds 1() gel back on his fcct. Because ol Harold s great slrength and
  good altitude. Ioarrhirchimorgcthimajob\'ithoieof mv- collcagues bl Novemltr ltl) 2i)17
           I dirc to teslil,\' u dcr oath aholll Harold's gentlcncss (ioss exanl mc all dirf ifl do not
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     Thank )ou.   -u''our   Honor. lor reading   tl s   Ma,Y God lcad   )ou anrl grridc you'


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     THE HONORABLE MARK A. GOLDSMITH
     JUDGE, L]NITED STATES DISTRICT COURT

     RE: BASIC CIIARACTER OF HAROLD NERO:


     Dear Judge Goldsmith:

     I have known Harold all his life. I am his father.

     The flrst 15 years ofHarold's life, I was locked up in Jackson Prison.
     Yet we got to be with each other virtually every Saturday because I insisted
     that my mother, Harold's grandmother, bring him to visit. I was hoping thal
     Hmold's seeing me locked-up would "Scare Him Straight."

     Unfortunately, that "Scare Him Straight" strategy did not work

     AlthouglL I must say he was the best litlle boy; and I love him deeply.
     Actually, Harold was doing fure until his grandmother died. Then he went
     out on the wild. But never did I hear anyone say anlthing about Harold
     pushing people around or being a bully. In fact despite being so big and
     strong Harold has been bullied. Harold has never hurt a wolnan.

     Your Honor, Harold has a very kind heart. He is a good guy.

     Ifthere is aryrray that Your Honor can give Harold a break or be lenient,     I
     can assure you that he will not disappoint you. Ilarold is kind and gentle.

     Thank you for reading this letter, Yoqr Honor

      sncereg.paftir       1 //,r2*"j,
     James E. Thompson, Jr.
     2347 Cortland
     Detroit, Michigan 48206

     P.S. Your Honor, I am seriously handicapped. It would sure help me to have
     my son Harold around to help this old man cope. Thank yoq Your Honor.

     Dated

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     THE HONORABLE MARK A. GOLDSMITH
     JUDGE, UNITED STATES DISTRICT COURT
     231 West Latayette Blvd.
     Detroit, Michigan 48226

     RE: WHAT I KNOW ABOUT HAROLD NERO's GOODNESS


     Dear Judge:

     I have known Harold Nero for seven years. I personally have never seen
     him be violent or intimidating. Obviously, at his extra, extra large size, he
     could be. I assue you, Your Honor Harold is 44 intimidating.

     Instead, Harold is kind. His first instinct is to be good to other people.
     Sometimes in obvious ways like when he feeds and clothes people who
     would have frozen to death ifnot for Harold's kindness. Sometimes in subtle
     ways. We are both sports fans: I am more ofa Tigers & Pistons fan; while
     Harold likes football, especially Michigan. Now Harold and I will really talk
     about sports. Very few men talk sports with a woman, but that is how much
     Harold respects a woman and her opinion and her right to express that
     opinion.

     No one has ever told me that Harold ever beat or forced a working woman to
     do anlthing. In my world the women don'tjust gossip, but they share
     information about what is really going on. Information that saves lives. So, if
     Harold had ever hitjust one girl, then I would have heard and remembered. I
     can share with Your Honor that Harold is definitely 4q! violent.

     Harold is 491; a predator on womerl he is a protector ofwomen.

     Thank yoq Your Honor, for reading this. Hopefully it gives insight into the
     good guy Harold is inside the snake pir. A man who gives hope in the Valley
     ofDespair.

              ly,

     April

     Dated:    IA-7-I     7
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  Honorahlc Nlark A. Goldsnlith
  Unitcd States District Cou[ Judge
  2-: I \Vest l-nlhlette tih,d.
  Detroit. Nll 48116



                  Rc:     USA r. Harold    \ero


  Dcar JrLdge (iolclsrnith:

           I am u'riling on bchall of I Iarold Nero. I know hirr as "Seai' {)1 "Neplic$.' l nlet him
  t\\.o )ears ago at a "spot-'a place lo acqu;rc drugs. I u'as ne$' to the city ard $as neflous about
  m,v surroundings. Nl-r' liti at the tin1e had taken a do\tntur-n. and B'hen I nlct tr4r. Nclo_ I could
  instanll) te1l hc \&as a person that codld be lrusted. lle is a largc man but has a saim and
  uruut'flcd rlemeanor. IIe uas vcry kind to nlc lhc da) we n1ct. and remained so all the tirncs I
  kncw him.

          Michigirn Avcnue and the near $cstside o1 f)ctrci1 can bc rough. \\iolnen end men arc
  struggling \!ilh addiction and problefis rclatcd to addiction N{. Nero- as $ell as n]}sell' struggle
  with addiction. but in spite ofrhc rough timcs. the man I kno* as 'Scan" or "Nepheu'" N4t
  Nero h:rs not mislrealed \\'omen. and has not hurt or intjrnidated an-vone. patjcularl) womell ll
  anlthing. he has looked out 1br peoplc *hr) have losl e\enthing. belplng thern oht'rin tbod and
  clothing. Mr. Ncro's reputation irr our commurliq is ler-,_ positire; hc is kno\\'n as a protcclor and
  peaccmaker. and he ne\er fbrced girls to take dlugs or lbrccd tlle into prostitulion

           I avoid courts and police as much as possible. but i havc come lorward lbr rn1 liicnd
   Scan. and tcll this Cout th:rl thc claims oI him lbrcing or helping lbrcc Sirls into drugs
                                                                                                 an'l
   prostilution trc \.'ro1]g. I kno\\, bccause I havc seei thc tnlth. l'hank l ou fbr considering this




   Sincerely,




                                                           Date: -_           ----
   Tif'lan1 N. \\hllen
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